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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                               CHAPTER 7
Larry Darnell Gore, Jr.,
       Debtor.                                       CASE NO. 21-51345—JRS

                                    CERTIFICATE OF SERVICE

         I hereby certify, under penalty of perjury, that I am more than eighteen years of age and
that on this day I served a copy of the within Debtor's Amendment to Chapter 7 Schedules upon
the following by depositing a copy of the same in U.S. Mail with sufficient postage affixed
thereon to ensure delivery to:

Navy Federal Credit Union
PO Box 3700
Merrifield, VA 22119

Via CM/ECF:
S. Gregory Hays, Chapter 7 Trustee

A. Michelle Hart Ippoliti on behalf of Creditor MIDFIRST BANK

Brian K. Jordan on behalf of Creditor Navy Federal Credit Union

Andrew Houston McCullen on behalf of Creditor Navy Federal Credit Union

Wanda D. Murray on behalf of Creditor MIDFIRST BANK

Office of the United States Trustee

Josephine Salmon on behalf of Creditor Navy Federal Credit Union

Maria A. Tsagaris on behalf of Creditor MIDFIRST BANK

       This 12th day of November, 2021


                                                            By: /S/________________________
                                                            John Brookhuis
                                                            Attorney for Debtor
                                                            Georgia Bar No. 940484
                                                            PO Box 17919
                                                            Atlanta, GA 30316
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